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                                                    U.S. Department of Justice

                                                    United States Attorney
         8/20/2024                                  Southern District of New York


                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    August 19, 2024

BY ECF                                        Application GRANTED. The Clerk of Court is directed to
The Honorable Jennifer H. Rearden             terminate ECF No. 161. SO ORDERED.
United States District Judge
500 Pearl Street
                                              Jennifer H. Rearden, U.S.D.J.
Southern District of New York                 Dated: August 20, 2024
New York, New York 10007

       Re:     United States v. Sergey Shestakov, 23 Cr. 16 (JHR)

Dear Judge Rearden:

       The Government writes to notify the Court that the Government intends to file a classified,
ex parte submission pursuant to Section 4 of the Classified Information Procedures Act and
Federal Rule of Criminal Procedure 16(d). The Government respectfully requests permission to
submit that filing on or before September 30, 2024.

                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney

                                              By:    /s/
                                                    Rebecca T. Dell
                                                    Sheb Swett
                                                    Derek Wikstrom
                                                    Assistant United States Attorneys
                                                    (212) 637-2198 / 6522 / 1085

Cc:    Defense Counsel (by ECF)
